              Case
     Fill in this      23-61742-bem
                  information                   Doc 1
                              to identify your case:       Filed 11/28/23 Entered 11/28/23 23:47:50                               Desc Main
                                                           Document     Page 1 of 10
     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Georgia      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        ARC   Management Group, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               1825 Barrett Lakes Blvd., N.W.                           _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Suite 505
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Kennesaw                    GA      30144
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Cobb County
                                           ______________________________________________
                                           County
                                                                                                        N/A
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        Gainesville                GA      30501
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.arcollects.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 23-61742-bem             Doc 1         Filed 11/28/23 Entered 11/28/23 23:47:50                              Desc Main
                                                         Document     Page 2 of 10
                ARC Management Group, LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            5614440
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
         Case 23-61742-bem                     Doc 1      Filed 11/28/23 Entered 11/28/23 23:47:50                                Desc Main
                                                          Document     Page 3 of 10
               ARC Management Group, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                              Number         Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________        _______     ________________
                                                                              City                                           State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million
                                           ✔
                                                                             $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
         Case 23-61742-bem                   Doc 1       Filed 11/28/23 Entered 11/28/23 23:47:50                                 Desc Main
                                                         Document     Page 4 of 10
             ARC Management Group, LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                        $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            11/28/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ William D. Wilson
                                             _____________________________________________               William D. Wilson
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    Chief Executive Officer
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ William Rountree
                                             _____________________________________________              Date         11/28/2023
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              William Rountree
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Rountree, Leitman, Klein & Geer, LLC
                                             _________________________________________________________________________________________________
                                             Firm name
                                              2987 Clairmont Road Suite 350
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Atlanta
                                             ____________________________________________________             GA            30329
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              404-584-1238
                                             ____________________________________                              wrountree@rlkglaw.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              616503                                                          GA
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
              Case 23-61742-bem                  Doc 1      Filed 11/28/23 Entered 11/28/23 23:47:50                              Desc Main
                                                            Document     Page 5 of 10
      Fill in this information to identify the case:

                    ARC Management Group, LLC
      Debtor name __________________________________________________________________

                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                      Check if this is an
      Case number (If known):   _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     The Intelitech Group                                               Suppliers or Vendors
1    4800 NW Camas Meadows Drive
     Ste 220
                                                                                                                                                   178,748.36
     Camas, WA, 98607


     Wells Fargo                                                        Monies Loaned /
2    Lite Card Payment Center                                           Advanced
     POI Box 77066 29
                                                                                                                                                   100,000.00
     Minneapolis, MN, 55840-7766

     Insperity                                                          Services
3    6 Pointe Drive
     Ste, 150
                                                                                                                                                   97,666.89
     Brea, CA, 92821-6320


     Adventus AOF #1 LP                                                 Landlord
4    PO Box 936596
                                                                                                                                                   77,905.73
     Atlanta, GA, 31193-6596


     RevSpring, Inc.                                                    Suppliers or Vendors
5    26988 Network Place
     Chicago, IL, 60673-1269                                                                                                                       50,000.00


     VCC Owner LLC                                                      Florida Landlord
6    PO Box 935812
     Atlanta, GA, 31193-5812                                                                                                                       21,724.11


     American Express                                                   Credit Card Debt
7    PO Box 60189
     City of Industry, CA, 91716-0189                                                                                                              18,076.86


     Ultimate Contacts                                                  Suppliers or Vendors
8    5345 Towne Square Drive
     Ste 165                                                                                                                                       15,000.00
     Plano, TX, 75024




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
                Case 23-61742-bem                Doc 1      Filed 11/28/23 Entered 11/28/23 23:47:50                               Desc Main
                                                            Document     Page 6 of 10
                     ARC Management Group, LLC
    Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                    Name




     Name of creditor and complete            Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code      and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                           professional        unliquidated, total claim amount and deduction for value of
                                                                           services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff
     Techno Brain BPO ITES Limited                                       Suppliers or Vendors
9    Heritan House 2nd Floor
     Woodlans Road                                                                                                                                  7,000.00
     Nairobi Kenya 510

     GILBRIDE, TUSA, LAST & SPELLANE,                                    Services
10 LLC
     986 Bedford Street                                                                                                                             6,500.00
     Stamford, CT, 06905


     InfoWorks                                                           Suppliers or Vendors
11 PO Box 47
     Woodstock, GA, 30188                                                                                                                           5,000.00


     Ontario Systems LLC                                                 Suppliers or Vendors
12 1150 W Kilgore Avenue
     Muncie, IL, 47305-1588                                                                                                                         4,203.43



     Windstream                                                          Services
13 PO Box 9001013
     Louisville, KY, 40290-1013                                                                                                                     3,200.00


     Quadient                                                            Suppliers or Vendors
14 PO Box 6813
     Carol Stream, IL, 60197-6813                                                                                                                   2,000.00


     Hewlett-Packard Financial Services                                  Equipment Lease
15 PO Box 402582
     Atlanta, GA, 30384-2584
                                                                                                                                                    1,635.99


     IDI                                                                 Suppliers or Vendors
16 PO Box 744971
     Atlanta, GA, 30384-4971                                                                                                                        1,350.00


     Keep It Safe                                                        Suppliers or Vendors
17 PO Box 101672
     Pasadena, CA, 91189
                                                                                                                                                    895.71


     ComCast                                                             Services
18 PO Box 71211
     Charlotte, NC, 28272-1211                                                                                                                      733.98


     Solved-IT                                                           Services
19 333 N. Dobson Rd
     Ste 5 #138
     Chandler, AZ, 85224                                                                                                                            616.25


     e-Oscar                                                             Suppliers or Vendors
20 Dept 224501
     PO Box 55000                                                                                                                                   600.00
     Detroit, MI, 48255-4971




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
Case 23-61742-bem             Doc 1    Filed 11/28/23 Entered 11/28/23 23:47:50                Desc Main
                                       Document     Page 7 of 10

ABI Holding, LLC                                      Georgia Department of Labor
12655 Old Surrey Place                                148 Andrew Young Inter. Blvd
Roswell, GA 30075                                     Room 738
                                                      Atlanta, GA 30303-0000

Adventus AOF #1 LP
PO Box 936596                                         Georgia Department of Revenue
Atlanta, GA 31193-6596                                Compliance Division, ARCS - Bankruptcy
                                                      1800 Century Blvd NE, Suite 9100
                                                      Atlanta, GA 30345
American Express
PO Box 60189
City of Industry, CA 91716-0189                       GILBRIDE, TUSA, LAST & SPELLANE, LLC
                                                      986 Bedford Street
                                                      Stamford, CT 06905
ARC Management Group of Georgia, LLC
12655 Old Surrey Place
Roswell, GA 30075                                     Green Note Capital Partners SPV LLC
                                                      1019 Avenue P
                                                      Ste. 401
AT&T                                                  Brooklyn, NY 11223-2366
PO Box 6416
Carol Stream, IL 60197-6416
                                                      Healthtech Receivables Management, Inc.
                                                      12655 Old Surrey Place
Cheetah Capital                                       Roswell, GA 30075
667 Madison Avenue
5th Floor
New York, NY 10065                                    Hewlett-Packard Financial Services
                                                      PO Box 402582
                                                      Atlanta, GA 30384-2584
ComCast
PO Box 71211
Charlotte, NC 28272-1211                              Howste Technical Services
                                                      2440 Sandy Plains Road
                                                      Bldg 7
Corporate Resolutions, LLC                            Marietta, GA 30066
12655 Old Surrey Place
Roswell, GA 30075
                                                      IDI
                                                      PO Box 744971
CT Corporation System, as Representative              Atlanta, GA 30384-4971
330 N. Brand Blvd, Suite 700
Attn: SPRS
Glendale, CA 91203                                    InfoWorks
                                                      PO Box 47
                                                      Woodstock, GA 30188
e-Oscar
Dept 224501
PO Box 55000                                          Insperity
Detroit, MI 48255-4971                                6 Pointe Drive
                                                      Ste, 150
                                                      Brea, CA 92821-6320
Flock Financial, LLC
400 Galleria Parkway SE
Ste. 17                                               Internal Revenue Service
Atlanta, GA 30339-5980                                CIO
                                                      P.O. Box 7346
                                                      Philadelphia, PA 19101-7346
Funding Club
915 Middle River Drive
Fort Lauderdale, FL 33304
Case 23-61742-bem               Doc 1   Filed 11/28/23 Entered 11/28/23 23:47:50        Desc Main
                                        Document     Page 8 of 10

Irwin Bernstein, CMS Services                          Patient Account Services, LLC
820 Davis Street                                       1825 Barrett Lakes Blvd., N.W.
Suite 453                                              Ste. 505
Evanston, IL 60201                                     Kennesaw, GA 307530144


Jeffrey Parrella, Esq.                                 Pope & Land
AWN&R Commerical Law Group                             1701 Barrett Lakes Blvd
14 Wall Street, 20th Floor                             Ste 120
New York, NY 10005                                     Kennesaw, GA 30144


John Bedard                                            Quadient
4855 River Green Parkway                               PO Box 6813
Suite 310                                              Carol Stream, IL 60197-6813
Duluth, GA 30096

                                                       Quench USA, Inc.
Keep It Safe                                           PO Box 735777
PO Box 101672                                          Dallas, TX 75373-5777
Pasadena, CA 91189

                                                       RevSpring, Inc.
KYF Global Partners, LLC                               26988 Network Place
1019 Ave. P                                            Chicago, IL 60673-1269
Brooklyn, NY 11223

                                                       Samson MCA LLC
Lathem Time                                            17 State Street
210 The Bluffs                                         Ste. 630
Ste 107                                                New York, NY 10004
Austell, GA 30168

                                                       Solved-IT
Lendspark Corporation                                  333 N. Dobson Rd
2554 Gateway Road                                      Ste 5 #138
Carlsbad, CA 92009                                     Chandler, AZ 85224


Libertas Funding, LLC                                  Staples
411 W. Putnam Avenue                                   PO Box 105748
Ste. 220                                               Atlanta, GA 30348-5748
Greenwich, CT 06830

                                                       Stericycle
Nationwide                                             28883 Network Place
PO Box 77210                                           Chicago, IL 60673-1288
Minneapolis, MN 55480-7200

                                                       TBF
Ontario Systems LLC                                    460 Faraday Avenue
1150 W Kilgore Avenue                                  Jackson, NJ 08527-5072
Muncie, IL 47305-1588

                                                       Techno Brain BPO ITES Limited
Patient Account Services, LLC                          Heritan House 2nd Floor
12655 Old Surrey Place                                 Woodlans Road
Roswell, GA 3075                                       Nairobi Kenya 510,
Case 23-61742-bem            Doc 1      Filed 11/28/23 Entered 11/28/23 23:47:50   Desc Main
                                        Document     Page 9 of 10

The Intelitech Group
4800 NW Camas Meadows Drive
Ste 220
Camas, WA 98607


The J.D. Stuart Law Group, LLC
1825 Barrett Lakes Blvd., N.W.
Ste. 505
Kennesaw, GA 30144


Thresa Larae Wilson
12655 Old Surrey Place
Roswell, GA 30075-1067


Ultimate Contacts
5345 Towne Square Drive
Ste 165
Plano, TX 75024


VCC Owner LLC
PO Box 935812
Atlanta, GA 31193-5812


Wells Fargo
Lite Card Payment Center
POI Box 77066 29
Minneapolis, MN 55840-7766


William D. Wilson
12655 Old Surrey Place
Roswell, GA 30075-1067


William D. Wilson, Jr.
12655 Old Surrey Place
Roswell, GA 30075-1067


Wilzara Property Management Group LLC
12655 Old Surrey Place
Roswell, GA 30075


Windstream
PO Box 9001013
Louisville, KY 40290-1013
Case 23-61742-bem      Doc 1     Filed 11/28/23 Entered 11/28/23 23:47:50        Desc Main
                                Document      Page 10 of 10



                             United States Bankruptcy Court
                               Northern District of Georgia




         ARC Management Group, LLC
In re:                                                         Case No.

                                                               Chapter      11
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              11/28/2023                          /s/ William D. Wilson
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  Chief Executive Officer
                                                 Position or relationship to debtor
